                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE



UNITED STATES OF AMERICA                    )
                                            )
v.                                          )         NO. 3:11-00194
                                            )
STERLING RENEVA RIVERS                      )



                                           ORDER

       Pursuant to the Order of referral, Docket Entry No. 1001, the Government’s motion to set

arraignment, Docket Entry No. 997, is GRANTED.

       Arraignment is set before the undersigned on Monday, January 7, 2013, at 1:00 p.m.

Defendant shall be produced for this hearing.

       It is so ORDERED.




                                                JULIET GRIFFIN
                                                United States Magistrate Judge




Case 3:11-cr-00194        Document 1002          Filed 12/21/12     Page 1 of 1 PageID #: 4282
